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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


  LTNITED STATES OF AMEzuCA,                                     rNDrcrMEN      r LtL6-q                  d         N
                                                                                                                R
                                                                                                                        /fJE
                         Plaintiff,                              (18 u.s.c. $ e22(g)(t))
                                                                 (18 U.S.C. $ e24(dxl))
                                                                 (18 U.S.C. $ e2a(e)(l))
  I.    ROBERTLEEPOWERS,                                         (21 U.S,C. $ 841(aXl))
                                                                 (2r u.s.c. $ 841(bxl)(c))
                         Defendant.                              (28 U.S.C. $ 2461(c))

          THE LINITED STATES CRAND JURY CHARGES THAT:

                                                 COUNT I
                   (Felon in Possession of a Firearm    -   Armed Career Criminal)

          On or about March 18, 2013, in the State and District of Minnesota, the defendant,

                                      ROBERT LEE POWERS,

  having previously been convicted          of crimes punishable by imprisonment for a term
  exceeding one year, at least three of which were violent felonies or serious drug offenses

  commifted on occasions different lrom one another, that is,


   Crime                              Place of Conviction        Date               Date
                                                                 Committed          Sentenced
   Burglary                           Sangamon County,            197 5             12/19/197 5
                                      Illinois
   Forgery                            Sangamon County,           1978               06/12/1978
                                      Illinois
   Assault on a Govemment             United States District     03/04/1988         08/11/1988
   Employee                           Court, Minnesota
   3rd Degree Sale of Crack           Hennepin County,           10t03/1989         t2/t Ut989
   Cocaine                            Minnesota

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 Offering   a   Forged Check       Hennepin County,         04/04/1992      06/10n993
                                   Minnesota

 4th Degree Sale of Crack          Hennepin County,         r0ll0l11992     06/10/1993
 Cocaine                           Minnesota

 Attempted 1st Degree              Hennepin County,         121071t992      06/10/1993
 Criminal Sexual Conduct           Minnesota

 Conspiracy to Commit       Washington County,              07 t18/1996     10/10/1991
 Controlled Substance Crime Minnesota
 3rd Degree Controlled             Hennepin County,         l,t /t 4/2000   12/13/2000
 Substance Crime                   Minnesota
 Attempted 5th Degree        Hennepin County,               04/24/2004      05/06t2004
 Control led Substance Crime Minnesota

 Attempted 5th Degree       Hennepin County,                n/09/2005       0411012006
 Controlled Substance Crime Minnesota
 Predatory Offender       -        LeSueur County,          l0/01/2005      08/10/2006
 Providine False Infbrmation       Minnesota

 5th Degree Controlled             Hennepin County,         03t20t2008      061t212008
 Substance Crime                   Minnesota

 Theft of a Motor Vehicle          Hennepin County,         tU04t2009       03/25/2010
                                   Minnesota
 5th Degree Controlled             Hennepin County,         11/20t2009      0312s12010
 Substance Crime                   Minnesota

did knowingly and unlawfully possess, in and alfecting interstate commerce, a firearm, that

is, a Smith     &   Wesson, Model 669, nine millimeter semi-automatic pistol, serial number

TBN0070, in violation of Title 18, United States Code, Seclions 922(9(1) and 924(eX1).
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United States v. Robert Lee Powers

                                        COUNT    2
                       (Possession With Intent to Distribute Heroin)

       On or about March 18, 2013, in the State and District of Minnesota, the defendant,

                               ROBERT LEE POWERS,

did unlawfully, knowingly and intentionally possess with intent to distribute a mixture and

substance containing a detectable amount ofheroin, a controlled substance, in violation   of

Title 21, United States Code, Sections 8a1(aXl) and 8al(bXlXC).

                             FORFEITURE ALLEGATION

       If convicted ofCount I of this indictment, the defendant,

                               ROBERT LEE POWERS,

shall forfeit to the United States any firearms, accessories and ammunition involved in or

used in connection with each such violation including, but not limited to, a Smith        &

Wesson, Model 669, nine millimeter semi-automatic pistol, serial number TBN0070, and

the magazine and ammunition seized in connection therewith, pursuant to Title 18, United

States Code, Section 924(d)(l), and Title 28, United States Code, Section 2461(c).

                                      A TRUE BILL



UNITEDSTATESATTORNEY                             FOREPERSON
